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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


FAIR FIGHT ACTION, INC, et al.,
      Plaintiffs,
      v.                                           Civil Action No.
                                                   1:18-cv-05391-SCJ
BRAD RAFFENSPERGER, et al.,
    Defendants.




                    [PROPOSED] SCHEDULING ORDER

      Defendants will file any response to Moving Plaintiffs’ Motion for Partial

Summary Judgment 21 days from the granting of Plaintiffs’ Motion for Leave to

File a Supplemental Complaint.

      Moving Plaintiffs will file any reply brief 14 days after Defendants’

response.

IT IS SO ORDERED this ___ day of _____, 2022.



                                      _____________________
                                      Honorable Steve C. Jones
                                      United States District Court Judge
